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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


MATTHEW WRIGHT                                                                 PLAINTIFF


vs.                                No. 4:20-cv-454-KGB


TYLER TECHNOLOGIES, INC.                                                     DEFENDANT


                   DECLARATION OF ATTORNEY JOSH SANFORD


       Pursuant to 28 U.S.C. § 1746, Josh Sanford declares, subject to the penalties for

perjury, as follows:

       1.     My name is Josh Sanford, and I am over the age of 18 and duly qualified to

execute this Declaration and to swear to the accuracy of the facts herein contained.

       2.     I am an attorney licensed and in good standing in the State of Arkansas. I

practice law with the law firm of Sanford Law Firm, PLLC (hereinafter “Sanford Law Firm”),

which is located in Little Rock, which I founded in Russellville in 2001. I opened an office

in Little Rock in 2009 and now predominantly practice in the Arkansas District Courts,

together with a busy Western District of Texas practice.

       3.     I practice law full-time, and I manage the other fifteen (15) attorneys in the

Sanford Law Firm.

       4.     Including cases now pending, I have prosecuted over 200 wage lawsuits in

Texas in the last five years. Some of these were arbitrations.

       5.     Including cases now pending, I have prosecuted over 500 wage lawsuits in

Arkansas in the last ten years.

       6.     In the course of my law practice, I engage in a significant amount of wage
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and hour litigation—specifically cases arising under the Fair Labor Standards Act (FLSA)

and the comparable Arkansas Minimum Wage Act (AMWA). A significant portion of my

case load is in various federal courts around the United States, including trial work in

cases arising under Title VII of the Civil Rights Act of 1964, the Equal Pay Act, the FLSA,

and the Family and Medical Leave Act.

       7.     I am licensed to practice law in all state and federal courts in the States of

Arkansas, Colorado and Texas. I am also actively engaged in appellate practice. I have

handled cases before almost all county Circuit Courts in the Central and River Valley

regions of Arkansas, the United States District Courts for the Eastern and Western

Districts of Arkansas, the United States District Courts for the Eastern, Southern, Northern

and Western Districts of Texas, United States District Court for the Northern District of

Oklahoma, United States District Court for the Southern District of Ohio, the United States

District Court for the District of Colorado, the United States District Court for the Eastern

District of Michigan, the United States District Court for the District of Oregon, the Fifth,

Sixth and Eighth Circuit Courts of Appeals.

       8.     In the past few years we have also filed cases in Ohio, Kentucky,

Tennessee, North Carolina, South Carolina, Florida, Georgia, Alabama, Mississippi,

Louisiana, Missouri and Illinois. There is no group of attorneys within 600 miles of Little

Rock who have experience comparable to Sanford Law Firm in wage litigation. Including

cases currently being prosecuted throughout the country today, Sanford Law Firm has

prosecuted over 1,000 wage cases in federal and state courts and in arbitration

proceedings. In 2018, only one firm in the United States initiated more wage violation

prosecutions than Sanford Law Firm.

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       9.     In 2005, I was voted “Best Attorney” (tie) in a readers’ poll published by The

Courier in Russellville, Arkansas. Subsequently, in 2008, I served as the President of the

Pope County Bar Association. In addition, I am or have been a member of the American,

Arkansas, and Pope County Bar Associations, the Arkansas Trial Lawyers Association

and the National Employment Lawyers Association.

       10.    I have been lead counsel on numerous wage and hour cases filed in United

States District Courts throughout the nation, including the following: Craig Lyons, et al. v.

Con Agra, 4:12-cv-245-JM (E.D. Ark.) (over 790 plaintiffs); Keyli Cruthis, et al. v. Visions,

et al., 4:12-cv-244-KGB (E.D. Ark.); James Finley v. Universal Pressure Pumping, Inc.,

SA:12-ca-0654-OG (Western District of Texas); Michael Alexander v. Hahn Appliance

Center, Inc., 12-CV-257-CVE-TWL (N.D. Okla.); Chad Lochridge, et al. v. Lindsey

Management, et al., 5:12-CV-5047-JLH (W.D. Ark.); Bill Hollomon, et al. v. AT&T Mobility

Services, LLC, 4:11-cv-600-BRW (E.D. Ark.); Jeffrey Bacon, et al. v. Eaton Aeroquip,

LLC, 2:11-cv-14103-GD (E.D. Mich.); Karen “Kay” Roland v. Sharp County Post 336, et

al., 1:11-CV-85-DPM (E.D. Ark.); Bennie Watson, et al. v. Surf-Frac Wellhead Equipment

Company, Inc., 4:11-CV-843 (JLH) (E.D. Ark.); Robert Terry, et al. v. City of Ola, 4:11-cv-

11-645 (JLH) (E.D. Ark.); Donald Bateman, et al. v. Frac Tech Services, LLC, 6:11-cv-

708 (E.D. Tex.); Kalie Brown, et al. v. Barney’s Barn, Inc., d/b/a/ Peaches Gentlemen’s

Club, 4:11-cv-224 (SWW) (E.D. Ark.); Jason Phillips v. Oil Patch Water and Sewer

Services, LLC, et al., 4:11-cv-776 (JLH) (E.D. Ark.); David Delock, et al. v. Securitas

Security Services USA, et al., 4:11-CV-520 (DPM) (E.D. Ark.); Karen Springs, et al. v.

First Student, Inc., 4:11-CV-00240 (BSM) (E.D. Ark.); Teramura v. Walgreen Co., 5:12-

cv-5244-JLH (W.D. Ark.), and many others.

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       11.     I have also been lead counsel on numerous wage and hour cases that

resulted in settlements or judgments in favor of my clients including the following: Coby

Pearce v. Frac Tech Services, LLC, No. 4:12-cv-651-JLH (E.D. Ark.); Nicole Collins v.

Barney’s Barn, Inc., et al., No. 4:12-cv-685-SWW (E.D. Ark.); Joseph Gauthier, et al. v.

Trican Well Service, L.P., No. 6:13-cv-46-LED (E.D. Tex.); Jason Roche, et al. v. S-3

Pump Service, Inc., No. 5:15-cv-268-XR (W.D. Tex.); Kristen Whitworth, et al. v. French

Quarter Partners, LLC, No. 6:13-cv-6003-RTD (W.D. Ark.); Robert Terry v. Yell County

Ark., No. 4:13-cv-408-SWW (E.D. Ark.); Jessica Guinn v. D J Trucking, No. 4:13-cv-559-

KGB (E.D. Ark.); Maria Romero de Lopez, et al. v. Ozark Mountain Poultry, Inc., No. 5:13-

cv-5272-TLB (W.D. Ark.); Sean Jordan v. Big E. Foods, Inc., No. 4:14-cv-205-BRW (E.D.

Ark.); Patricia Hernandez, et al. v. Simmons Foods, Inc., No. 5:14-cv-5159-JLH (W.D.

Ark.); Sean Schneider v. Habitat for Humanity International, Inc., No. 5:14-cv-5230-TLB

(W.D. Ark.); Pedro Espinoza v. Car-Son Construction, LLC, No. 4:14-cv-467-KGB (E.D.

Ark.); Sheila Lyles v. City of Trumann, Ark., No. 3:14-cv-210-DPM (E.D. Ark.); and Kellie

McCartney v. Baily and Thompson Tax and Accounting, P.A., No. 4:14-cv-561-SWW

(E.D. Ark.).

       12.     More recently, I have also been lead counsel on several wage and hour

cases in which collective actions have been granted including Sam Adams v. United

Cerebral Palsy of Central Ark., Inc., No. 4:16-cv-930-JLH (E.D. Ark.); James Harris, et al.

v. Express Courier International, Inc., No. 5:16-cv-5033-TLB (W.D. Ark.); and Dustin

Moore, et al. v. Performance Pressure Pumping Services, LLC, No. 5:15-cv-432-XR

(W.D. Tex.), and dozens of others.

       13.     Since January of 2015, Sanford Law Firm has filed and prosecuted over

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800 distinct wage lawsuits throughout Arkansas and Texas. Many of these lawsuits are

or were group or collective actions, as well as several class actions under Rule 23.

       14.    Collectively, cases filed by the Sanford Law Firm since 2009 have resulted

in far more than $13,000,000.00 in settlements and judgments for wage and hour

violations for more than three thousand clients across the nation.

       15.    I am familiar with the customary and reasonable fees charged by myself

and by other attorneys in federal courts in Arkansas. Generally, the customary and

reasonable fee charged for federal court work in U.S. District Courts in Arkansas is

$150.00 to $350.00 per hour, depending upon experience and specialty.

       16.    However, some attorneys charge far more than this. I am personally

familiar with employment defense attorneys who charge $440.00 and also $410.00 per

hour in cases in the Eastern District of Arkansas, and I have more experience in wage

litigation than do those attorneys.

       17.    The rates charged by Sanford Law Firm’s attorneys are reasonable. The

rates are reflective of the number of years each attorney has practiced, the attorneys’

expertise in employment issues such as the FLSA, the contingent nature of an award of

fees, and the rates charged by other attorneys specializing in FLSA work. The staff time

and hourly rate for the Sanford Law Firm below are likewise reasonable and comparable.

       18.    The Sanford Law Firm’s work focuses on representing workers in

employment matters, and its lawyers focus their practices in the area of the FLSA and

similar wage-and-hour cases. In the community of attorneys who focus their practice in

this area of the law, the Sanford Law Firm has a strong reputation for its quality of work

and diligent representation of its clients.

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       19.    I am aware of the customary rates for attorneys of various skill levels who

focus their practice in the area of labor and employment within the Little Rock area and

the hourly rates charged by Sanford Law Firm attorneys are in line with those rates.

       20.    I have gained my knowledge of hourly rates charged through my own

practice in Little Rock, as well as by practicing with or having conversations with other

attorneys who practice in the Little Rock, including Brent Wakefield, John Brown and Paul

Pfeifer.

       21.    Lawsuits brought under the FLSA and the AMWA are time-consuming and

rigorous, and the amount of time spent by our firm at each step in this case is reasonable.

It is not uncommon in the course of my practice for clients with similar cases to incur

attorney’s fees that are as much as or more than those in this case.

       22.    With these matters in mind, I reviewed the hourly rates for the attorneys and

staff that the Sanford Law Firm is seeking in this case.

       23.    Based on my experience and knowledge, it is my opinion that these hourly

rates are reasonable given the attorneys’ skills, expertise, and reputations, and they are

within the range of rates awarded to attorneys with similar backgrounds and experience.

       24.    The request for attorney’s fees and costs is based upon contemporaneous

time and expenses records maintained by Sanford Law Firm as a matter of ordinary and

customary business practice. The time and billing records identify the amount of time

expended, the tasks performed, the rate of the particular timekeeper involved, and the

costs incurred. A true and accurate copy of a spreadsheet reflecting relevant legal

services rendered and time expended on this case through the date of this Declaration,

is attached hereto as Attachment A.

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       25.    Each task reflected in the attached Invoice was necessary to the successful

resolution of this matter; the hours expended were actually expended on the topics stated;

the time spent on each task was reasonable; and the rates claimed are also reasonable.

       26.    In preparing to support Plaintiff’s Motion for Costs and Attorneys’ Fees, my

firm exercised billing judgment in calculating the lodestar, reviewing records of hours

worked and writing off entries for time spent on tasks which could reasonably be viewed

as unproductive, excessive, redundant, or which were otherwise deemed as appropriate

for writing off completely or reducing as part of Plaintiff’s request for attorneys’ fees in this

case. Items deducted or reduced also included items for which billing was insufficiently

clear to describe how the time was spent, a portion of in-house conferences, and a portion

of time related to case management and other items where appropriate. As a result of

this good faith review, the total billing was reduced from $6,601.00 to $5,618.00, which is

a 15% reduction.

       PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY

UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT THE FOREGOING

IS TRUE AND CORRECT.

       Executed on this 11th day of December, 2020.

                                                      /s/ Josh Sanford
                                                      JOSH SANFORD




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             Attachment A
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Matter Time Entries Report
As of 2020-12-10 11:47:39 Central Standard Time/CST • Generated by Courtney Lowery • Sorted by Date Billed On (Descending)


Filtered By
Show: All matters
Matter Name contains wright (matthew)

Date Billed On          Duration Value         Description                                                                             Actual Billing       % reduction Billed By            Rate             Billable   Matter Name
12/7/2020                      0.1      $10.00 Conference with CL re offer of judgment                                                 $              -        100%     Kaylee Gould                $100.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/7/2020                      0.1      $15.00 Conference with KG re OOJ                                                               $              -        100%     Courtney Lowery             $150.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/7/2020                      0.1      $32.50 Compose electronic communication CO-C: fee demand                                       $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/7/2020                      0.1      $32.50 Receive, read and prepare response to email(s) from CO-Cs: demand                       $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/1/2020                      0.1       $6.00 Work on Client's file: process ECFs.                                                    $              -        100%     Tracy Freeman                $60.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/1/2020                      0.1      $32.50 Receive, read and prepare response to email(s) from CO-C                                $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
12/1/2020                      0.1      $32.50 Examination of filed-aCo-Ceptance of offer                                              $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/30/2020                     0.1      $32.50 Receive, read and prepare response to email(s) from CO-Cs                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/25/2020                     0.1      $32.50 Compose electronic communication CO-C                                                   $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/23/2020                     0.1      $32.50 Compose electronic communication OC-offers to settle                                    $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/23/2020                     0.1      $32.50 Examination of CO-C email                                                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/20/2020                     0.1      $32.50 Examination of OC email, CO-C email                                                     $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $15.00 Examination of offer of judgment                                                        $              -        100%     Courtney Lowery             $150.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1       $6.00 Work on Client's file: set deadline for response to Offer of Judgment                   $              -        100%     Tracy Freeman                $60.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.2      $20.00 Work on Client's file: Attempt to run matter billing report for CL, unsuCo-Cessful      $              -        100%     Marley Cash-Powell          $100.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $15.00 Conference with KG re billing                                                           $              -        100%     Courtney Lowery             $150.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $15.00 Receive, read and prepare response to email(s) from Co-C                                $              -        100%     Courtney Lowery             $150.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.3      $45.00 Compose electronic communication to OC; review billing records                          $            45.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.3      $45.00 Receive, read and prepare response to email(s) from OC re fees; review fee report; conference
                                                                                                                                       $     with GS45.00
                                                                                                                                                      re fee report
                                                                                                                                                                0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.2      $65.00 Receive, read and prepare response to email(s) from CO-C; OC: R68 offer                 $            65.00       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $32.50 Receive, read and prepare response to email(s) from OC: fees, etc                       $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $32.50 Receive, read and prepare response to email(s) from CO-C: demand                        $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $32.50 Examination of CO-C email                                                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/19/2020                     0.1      $32.50 Examination of emails with OCs                                                          $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/18/2020                     0.1      $32.50 Examination of emails with CO-C, OC                                                     $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/18/2020                     0.2      $65.00 Examination of R68 offer; draft memo to CO-C                                            $            65.00       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/17/2020                     0.1      $32.50 Examination of emails with OCs                                                          $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $15.00 Telephone Conference(s) with Co-C (left vm)                                             $            15.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $15.00 Receive, read and prepare response to email(s) from Co-C re settlement                  $            15.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $32.50 Examination of emails with OC                                                           $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $32.50 Examination of CO-C email                                                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $32.50 Telephone Conference(s) with CO-C (left VM)                                             $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/16/2020                     0.1      $32.50 Examination of email to OC (counter)                                                    $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/12/2020                     0.5      $75.00 Examination of depo transcript of Suzanne Greene; respond to OC email re depo prep $                 75.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/12/2020                     1.2     $180.00 Work on Client's file: deposition prep                                                  $           180.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/12/2020                     0.1      $32.50 Examination of emails with OC                                                           $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/12/2020                     0.1      $32.50 Conference with CL: depo prep                                                           $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/12/2020                     0.1      $32.50 Examination of emails with OC                                                           $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/11/2020                     0.1      $15.00 Receive, read and prepare response to email(s) from Co-C re phone call                  $            15.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/11/2020                     0.2      $30.00 Telephone Conference(s) with Co-C re counteroffer and deposition                        $            30.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/11/2020                     0.1      $32.50 Examination of email to OC                                                              $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/11/2020                     0.1      $32.50 Examination of email to OC                                                              $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/10/2020                     0.1      $15.00 Conference with JS re depo prep                                                         $              -        100%     Courtney Lowery             $150.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/9/2020                      0.1      $32.50 Examination of email from CO-C to client                                                $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/9/2020                      0.1      $32.50 Examination of Intra-office memo regarding case events and deadlines                    $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/9/2020                      0.1      $32.50 Examination of CO-C email                                                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/6/2020                      0.1      $32.50 Examination of email to OC                                                              $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/4/2020                      0.1      $32.50 Examination of OC email                                                                 $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/3/2020                      0.1      $32.50 Examination of Co-CR                                                                    $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.1      $15.00 Receipt and review of Co-C's response to good faith letter                              $            15.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.4      $60.00 Examination of Co-C's discovery requests                                                $            60.00       0%      Courtney Lowery             $150.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.1      $32.50 Examination of email to OC-discovery                                                    $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.1      $32.50 Examination of discovery transmittal to OC                                              $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.1      $32.50 Examination of Intra-office memo regarding case events and deadlines                    $              -        100%     Josh Sanford                $325.00      FALSE   Wright (Matthew) v. Tyler Technologies
11/2/2020                      0.1      $32.50 Examination of discovery emails with CO-C                                               $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
10/29/2020                     0.1       $6.00 Work on Client's file: calendar deposition                                              $             6.00       0%      Tracy Freeman                $60.00      TRUE    Wright (Matthew) v. Tyler Technologies
10/29/2020                     0.1      $32.50 Examination of emails with CO-C and client                                              $            32.50       0%      Josh Sanford                $325.00      TRUE    Wright (Matthew) v. Tyler Technologies
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10/28/2020   0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/27/2020   0.1   $15.00 Receive, read and prepare response to email(s) from Co-C to JS re depo dates            $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/27/2020   0.1   $32.50 Conference with CL: depos                                                               $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/27/2020   0.1   $32.50 Examination of emails with CO-C                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/27/2020   0.1   $32.50 Examination of email to OC                                                              $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/26/2020   0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/26/2020   0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/12/2020   0.1   $32.50 Examination of CO-C email to OC                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/12/2020   0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/12/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: demand                        $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/12/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C discovery dispute              $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/12/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: offer from OC                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/9/2020    0.1   $32.50 Examination of CO-C email to OC                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
10/9/2020    0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/28/2020    0.1   $15.00 Receive, read and prepare response to email(s) from co-counsel re settlement demand and $ fees      15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/28/2020    0.1   $32.50 Work on Client's file: demand                                                           $             -       100%   Josh Sanford      $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/28/2020    0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: demand                        $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/28/2020    0.1   $32.50 Examination of demand to OC                                                             $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/21/2020    0.1   $15.00 Receipt and review of supplemental production from OC                                   $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/18/2020    0.1   $15.00 Receipt and review of letter from OC re confidentiality and deficient responses         $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/18/2020    0.1   $32.50 Examination of OC letter re: discovery                                                  $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/18/2020    0.1   $32.50 Examination of disclosures from OC                                                      $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/16/2020    0.1   $32.50 Examination of email to OC                                                              $             -       100%   Josh Sanford      $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/14/2020    0.2   $30.00 Telephone Conference(s) with CoC re depositions                                         $             -       100%   Courtney Lowery   $150.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Conference with CL: case strategy                                                       $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Telephone Conference(s) with CO-C: case strategy                                        $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Examination of CO-C email                                                               $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Examination of CO-C email                                                               $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Conference with CL: docs from CO-C                                                      $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/14/2020    0.1   $32.50 Examination of email to OC                                                              $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/11/2020    0.1   $15.00 Receive, read and prepare response to email(s) from CoC re doc review                   $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/11/2020    0.1   $32.50 Examination of transmittal of discovery                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/10/2020    0.1   $15.00 Receive, read and prepare response to email(s) from CoC re client document production $             15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/10/2020    0.1   $10.00 Receipt and review of email from CL re discovery, save same to file                     $           10.00      0%    Kaylee Gould      $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/10/2020    0.1   $32.50 Examination of emails with CO-C                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/10/2020    0.1   $32.50 Examination of CO-C email                                                               $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/10/2020    0.1   $32.50 Examination of CO-C memo: discovery                                                     $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $15.00 Conference with JS re discovery responses                                               $             -       100%   Courtney Lowery   $150.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $15.00 Compose electronic communication to OC re discovery responses                           $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $22.50 Telephone Conference(s) with CL regarding responses to Def.'s discovery requests        $             -       100%   Steve Rauls       $225.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/9/2020     0.3   $45.00 Receive, read and prepare response to email(s) from CoC re discovery objection; research$ re omnibus45.00
                                                                                                                               requests 0%     Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $32.50 Conference with CL: answering discovery                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $32.50 Examination of emails with CO-C                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/9/2020     0.1   $32.50 Examination of emails with CO-C                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/8/2020     0.6   $36.00 Work on Client's file: format discovery, save to file, and email KG re: same            $             -       100%   Sara Oels          $60.00   FALSE   Wright (Matthew) v. Tyler Technologies
9/3/2020     0.3   $45.00 Receipt and review of CoC's initial disclosures; review damages caCo-Culations          $           45.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/3/2020     0.1   $32.50 Examination of disclosures transmittal to OC                                            $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
9/3/2020     0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: damage caCo-Culations         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/24/2020    0.1   $10.00 Receive, read and prepare response to email(s) from staff re formatting discovery reqs $              -       100%   Kaylee Gould      $100.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/13/2020    0.1   $15.00 Receipt and review of email from OC re document production                              $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/13/2020    0.1    $7.50 Receipt and review of Def discovery documents                                           $             -       100%   Anne Paul          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/13/2020    0.1    $6.00 Work on Client's file: download discovery documents                                     $            6.00      0%    Tracy Freeman      $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/13/2020    0.1   $32.50 Examination of OC email                                                                 $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/13/2020    0.1   $32.50 Examination of CO-C email, with production                                              $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1    $7.50 Conference with KG re discovery requests from OC                                        $             -       100%   Anne Paul          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1   $15.00 Conference with KG re discovery                                                         $           15.00      0%    Courtney Lowery   $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1    $7.50 Conference with KG and CL re discovery requests from OC                                 $             -       100%   Anne Paul          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/12/2020    0.2   $15.00 Conference with AP, CL re case details                                                  $             -       100%   Anne Paul          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1    $7.50 Receipt and review of email from OC re discovery requests                               $             -       100%   Anne Paul          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1    $6.00 Work on Client's file: calendar discovery answers                                       $            6.00      0%    Tracy Freeman      $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1   $32.50 Read and review ECF #,                                                                  $             -       100%   Josh Sanford      $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1    $7.50 Compose electronic communication to staff re formatting discovery requests              $            7.50      0%    Anne Paul          $75.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/12/2020    0.1   $32.50 Examination of emails with CO-C                                                         $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/10/2020    0.5   $30.00 Work on Client's file: calendar deadlines on FSO                                        $           30.00      0%    Tracy Freeman      $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
8/7/2020     0.4   $24.00 Work on Client's file: calendar deadlines on FSO                                        $             -       100%   Tracy Freeman      $60.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/7/2020     0.1    $6.00 Work on Client's file: process ECF - FSO                                                $             -       100%   Tracy Freeman      $60.00   FALSE   Wright (Matthew) v. Tyler Technologies
8/6/2020     0.1   $32.50 Examination of FSO                                                                      $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/28/2020    0.1   $32.50 Examination of CO-C email                                                               $           32.50      0%    Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
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7/27/2020   0.2   $65.00 Examination of def's disclosures                                                             $        65.00          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/16/2020   0.3   $45.00 Examination of Co-C's Initial Disclosures; respond to Co-C email re same                     $        45.00          0%      Courtney Lowery       $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/16/2020   0.1   $22.50 Telephone Conference(s) with CL regarding initial disclosures                                $        22.50          0%      Steve Rauls           $225.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/16/2020   0.1   $32.50 Examination of transmittal of initial disclosures                                            $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/16/2020   0.1   $32.50 Examination of email to CO-C                                                                 $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/13/2020   0.1   $32.50 Examination of CO-C email-disclosures, etc.                                                  $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/13/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: disclosures                        $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/10/2020   0.1   $32.50 Examination of emails with OC and CO-C                                                       $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/10/2020   0.1   $32.50 Examination of 26f report-filed                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/10/2020   0.1   $32.50 Examination of OC email                                                                      $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/10/2020   0.1    $6.00 Work on Client's file: process ECF - Rule 26(f) Report; calendar Initial Disclosure deadline $          6.00         0%      Tracy Freeman          $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/9/2020    0.1   $32.50 Examination of emails with OC                                                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/8/2020    0.1   $32.50 Examination of email to OC                                                                   $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
7/6/2020    0.1   $32.50 Examination of OC email                                                                      $            -         100%     Josh Sanford          $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $15.00 Receive, read and prepare response to email(s) from Co-C re 26(f) report                     $        15.00          0%      Courtney Lowery       $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.4   $60.00 Work on Client's file: review OC edits to 26(f) report in preparation for phone call with Co-C;
                                                                                                                      $ phone call
                                                                                                                               60.00
                                                                                                                                   with Co-C 0%
                                                                                                                                              re same Courtney Lowery       $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $32.50 Work on Client's file: emails with OC-26f edits                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $32.50 Conference with CL: 26f report                                                               $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $32.50 Examination of emails with OC                                                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $32.50 Examination of emails with CO-C                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/26/2020   0.1   $32.50 Conference with CL: 26f report issues                                                        $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/23/2020   0.1   $15.00 Receipt and review of email and 26(f) edits from OC                                          $        15.00          0%      Courtney Lowery       $150.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/22/2020   0.1   $32.50 Examination of OC email                                                                      $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/13/2020   0.2   $65.00 Examination of CO-C emails                                                                   $        65.00          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/12/2020   0.2   $20.00 Receipt and review of 26(f) report from Co-C; respond to email from Co-C re same             $        20.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/10/2020   0.1    $7.50 Editing and revision of 26(f) report                                                         $          7.50         0%      Michael Stiritz        $75.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/8/2020    0.1   $10.00 Conference with JS re potential depositions                                                  $            -         100%     Courtney Lowery       $100.00   FALSE   Wright (Matthew) v. Tyler Technologies
6/8/2020    0.1   $32.50 Conference with CL: call with CO-C                                                           $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/5/2020    0.4   $40.00 Telephone Conference(s) with Matthew Herrington re discovery; conference with JW re discovery$     local
                                                                                                                               40.00
                                                                                                                                   rules; send0%
                                                                                                                                               MH email
                                                                                                                                                      Courtney
                                                                                                                                                        re 26(f)Lowery
                                                                                                                                                                 template   $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/5/2020    0.1   $10.00 Receive, read and prepare response to email(s) from Co-C re FRCP discovery limitations $              10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/5/2020    0.1   $32.50 Examination of CO-C email                                                                    $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/5/2020    0.1   $32.50 Examination of emails with CO-C                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/5/2020    0.1   $22.50 Conference with CL re: timing of discovery;                                                  $            -         100%     Josh West             $225.00   FALSE   Wright (Matthew) v. Tyler Technologies
6/4/2020    0.1   $32.50 Examination of order                                                                         $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/4/2020    0.1   $10.00 Receipt and review of Order granting PHV motions; send to Co-C                               $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/3/2020    0.2   $20.00 Work on Client's file: efile PHV Motion for Matthew Herrington                               $        20.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/3/2020    0.1   $32.50 Examination of IOM re: PHV motion (second)                                                   $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/3/2020    0.1   $32.50 Examination of filed PHV motion                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/3/2020    0.1   $32.50 Examination of C.G.S. from CO-C via email                                                    $            -         100%     Josh Sanford          $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
6/3/2020    0.1   $32.50 Examination of CO-C email                                                                    $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/2/2020    0.1   $32.50 Examination of emails with CO-C                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.2   $20.00 Work on Client's file: finalize and efile PHV Motion for Mitchell Benjamin                   $        20.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.1   $10.00 Receipt and review of PHV Motion from Co-C                                                   $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.1   $10.00 Receive, read and prepare response to email(s) from Co-C re PHV motions                      $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.1   $32.50 Examination of emails with CO-C                                                              $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.1   $32.50 Examination of Benjamin PHV motion-filed                                                     $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
6/1/2020    0.1   $32.50 Examination of email and PHVs from CO-C                                                      $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/26/2020   0.1   $32.50 Examination of ORDER                                                                         $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/22/2020   0.1   $32.50 Examination of clerk's notice                                                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/21/2020   0.1   $10.00 Receive, read and prepare response to email(s) from MCP re 26(f) report                      $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/21/2020   0.2   $20.00 Preparation and drafting of 26(f)                                                            $        20.00          0%      Marley Cash-Powell    $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/20/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: PHV                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/19/2020   0.1   $32.50 Examination of clerk's notice                                                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/13/2020   0.2   $15.00 Examination of file                                                                          $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/13/2020   0.1   $32.50 Examination of IOM: files from OC                                                            $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/13/2020   0.1   $32.50 Examination of CO-C mail                                                                     $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/13/2020   0.1   $10.00 Receive, read and prepare response to email(s) from Co-C and AP re saving files              $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/13/2020   0.1    $7.50 Receipt and review of email from OC                                                          $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/13/2020   0.1    $7.50 Compose electronic communication to CL                                                       $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1   $32.50 Examination of CO-C email: case materials                                                    $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1   $10.00 Receive, read and prepare response to email(s) from Co-C and AP                              $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: PHV                                $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1   $32.50 Receive, read and prepare response to email(s) from CO-C: case file                          $        32.50          0%      Josh Sanford          $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1   $10.00 Work on Client's file: review status of case and Def's Answer                                $        10.00          0%      Courtney Lowery       $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/11/2020   0.3   $22.50 Work on Client's file: upload files, organize                                                $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/11/2020   0.4   $30.00 Work on Client's file: organize files                                                        $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/11/2020   0.7   $52.50 Work on Client's file: save files from co-counsel, organize file                             $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/11/2020   0.1    $7.50 Work on Client's file: organize                                                              $            -         100%     Law Clerk              $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
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5/11/2020            0.1       $7.50 Compose electronic communication to CL re client's file                                   $              -     100%   Law Clerk          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/11/2020            0.1       $7.50 Compose electronic communication to CL re files                                           $              -     100%   Law Clerk          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/7/2020             0.1      $32.50 Examination of clerk's notice                                                             $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/6/2020             0.3      $22.50 Preparation and drafting of annotated complaint                                           $              -     100%   Law Clerk          $75.00   FALSE   Wright (Matthew) v. Tyler Technologies
5/4/2020             0.1      $32.50 Examination of clerk's notice                                                             $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/4/2020             0.1      $32.50 Examination of order-PHV                                                                  $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/1/2020             0.2      $12.00 Work on Client's file: update filed pleadings                                             $            12.00   0%     Tracy Freeman      $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
5/1/2020             0.2      $12.00 Receipt and review of filed ISO; save in file; calendar deadlines                         $            12.00   0%     Tracy Freeman      $60.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/30/2020            0.1      $32.50 Examination of ISO                                                                        $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/27/2020            0.2      $20.00 Work on Client's file: efile NOAs for JS and CL; read and respond to email from TF re add'l$pleadings 20.00    0%     Courtney Lowery   $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/27/2020            0.1      $32.50 Work on Client's file: CL: NOAs                                                           $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/27/2020            0.1      $10.00 Conference with JS re NOAs                                                                $              -     100%   Courtney Lowery   $100.00   FALSE   Wright (Matthew) v. Tyler Technologies
4/27/2020            0.1      $32.50 Conference with CL: Drafting, deadlines                                                   $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/27/2020            0.1      $32.50 Examination of CO-C email                                                                 $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/27/2020            0.1      $32.50 Examination of CO-C email                                                                 $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/24/2020            0.1      $32.50 Receive, read and prepare response to email(s) from CL: NOA to file                       $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/24/2020            0.1      $32.50 Receive, read and prepare response to email(s) from CO-C: transfer to AAA                 $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/24/2020            0.3      $30.00 Preparation and drafting of NOAs for JS and CL; review Complaint                          $            30.00   0%     Courtney Lowery   $100.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Preparation and drafting of IOM: NOAs                                                     $              -     100%   Josh Sanford      $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Preparation and drafting of IOLM: case management                                         $              -     100%   Josh Sanford      $325.00   FALSE   Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Telephone Conference(s) with call with CO-C                                               $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.2      $65.00 Receive, read and prepare response to email(s) from CO-C rep agreement                    $            65.00   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Conference with AS: case management                                                       $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Examination of email from referring attorney                                              $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Examination of IOMS: new case                                                             $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Examination of email from chambers                                                        $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.1      $32.50 Examination of CO-C email re: trasnfer                                                    $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.2      $65.00 Examination of rep agreement                                                              $            65.00   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/23/2020            0.4    $130.00 Examination of lawsuit; related lawsuit                                                    $           130.00   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/22/2020            0.1      $32.50 Examination of CO-C email                                                                 $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/21/2020            0.1      $32.50 Receive, read and prepare response to email(s) from CO-C                                  $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
4/15/2020            0.1      $32.50 Preparation and drafting of CO-Counsel agreement                                          $            32.50   0%     Josh Sanford      $325.00   TRUE    Wright (Matthew) v. Tyler Technologies
Total       Sum     30.7   $6,601.00                                                                                           $         5,618.00   15%
            Count   225
